Case 3:19-bk-30822       Doc 17     Filed 05/16/19 Entered 05/17/19 13:21:17        Desc Main
                                    Document Page 1 of 1



This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: May 16, 2019



________________________________________________________________

                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

  IN RE:                                       )
                                               )       Case No. 3:19-bk-30822
  TAGNETICS INC.,                              )
                                               )       Chapter 7 (Involuntary)
                       Alleged Debtor.         )
                                               )       JUDGE GUY R. HUMPHREY



     ORDER ADMITTING DOUGLAS S. DRAPER AND LESLIE A. COLLINS TO
                      PRACTICE PRO HAC VICE

       This matter is before the Court on the Motion of Robert R. Kracht for an Order admitting

Douglas S. Draper and Leslie A. Collins pro hac vice pursuant to local Bankruptcy Rule 2090-1.

This Court has reviewed the Motion and has determined that the legal and factual bases set forth

in the Motion establish just cause for the relief granted herein.

       Accordingly, IT IS HEREBY ORDERED that, Douglas S. Draper and Leslie A. Collins

be admitted pro hac vice to appear before the Court.

IT IS SO ORDERED

Service List: All Creditors and Parties in Interest
